
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by claimant and respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On Januaryl2, 2005, claimant’s son was traveling on Route 67, Brooke County, when the vehicle struck rocks in the road, damaging the gas tank.
2. Respondent was responsible for the maintenance of Route 67, which it failed to maintain properly on the date of this incident.
3. As a result of this incident, claimant’s vehicle sustained damage in the amount of $289.30. Claimant’s insurance deductible was $250.00.
4. Respondent agrees that the amount of $250.00 for the damages put forth by the claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that respondent was negligent in its maintenance of Route 67 on the date of this incident; that the negligence of respondent was the proximate cause of the damages sustained to claimant’s vehicle; and that the amount of the damages agreed to by the parties is fair and reasonable. Thus, claimant may make a recovery for her loss.
Accordingly, the Court is of the opinion to and does make an award in the amount of $250.00.
Award of $250.00.
